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                  UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA




    BEYOND BLOND                         2:20-cv-05581-DSF-GJSx
    PRODUCTIONS, LLC,
        Plaintiff,                       Order Vacating Criminal
                                         Contempt Trial Date
                    v.

    EDWARD HELDMAN, III, et al.,
       Defendants.




         The United States Attorney’s Office has stated its intent to seek
   an indictment of Defendant Edward Heldman III on criminal contempt
   charges. In light of this, the criminal contempt trial date currently set
   for May 12, 2025 is VACATED. A new trial date will be set post-
   indictment.

         IT IS SO ORDERED.



    Date: April 22, 2025                 ___________________________
                                         The Honorable Dale S. Fischer
                                         United States District Judge
